                                                        This form is a statement of final loan terms and closing costs. Compare this
Closing Disclosure                                      document with your Loan Estimate.

Closing Information                            Transaction Information                                   Loan Information
Date Issued         4/22/2021                  Borrower Candy Williams                                   Loan Term      30 years
Closing Date        4/26/2021                            11423 Spotted Fawn Ln                           Purpose        Refinance
Disbursement Date   4/30/2021                            Bigfork , MT 59911                              Product        Fixed
Settlement Agent    Insured Titles
File #              972471.FT                  Lender    United Wholesale Mortgage, LLC                  Loan Type      X Conventional FHA
Property            11423 Spotted Fawn Ln                                                                                 VA __________
                    Bigfork , MT 59911                                                                   Loan ID #      1221401639
Estimated Prop. Value $500,000                                                                           MIC #



 Loan Terms                                                 Can this amount increase after closing?
Loan Amount                              $285,000           NO

Interest Rate                            3.078%             NO



Monthly Principal & Interest
See Projected Payments below for your    $1,213.60          NO
Estimated Total Monthly Payment


                                                            Does the loan have these features?
Prepayment Penalty                                          NO
Balloon Payment                                             NO

 Projected Payments
Payment Calculation                                                              Years 1 - 30

  Principal & Interest                                                              $1,213.60

  Mortgage Insurance                                                     +                     0
                                                                                                                                       105
  Estimated Escrow                                                       +              463.89
  Amount can increase over time

  Estimated Total
  Monthly Payment                                                               $1,677.49
                                                                  This estimate includes                                      In escrow?
Estimated Taxes, Insurance               $463.89                  X Property Taxes                                            YES
& Assessments                            a month                  X Homeowner's Insurance                                     YES
Amount can increase over time
See page 4 for details                                              Other:
                                                                  See Escrow Account on page 4 for details. You must pay for other property costs
                                                                  separately.



 Costs at Closing

Closing Costs                           $6,050.20       Includes $2,646.00 in Loan Costs + $3,404.20 in Other Costs -$0
                                                        in Lender Credits. See page 2 for details.


Cash to Close                           $82,641.37      Includes Closing Costs See Calculating Cash to Close on page 3 for details.
                                                          FromX To Borrower

                                                                Page 1
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                                                                                                                               LOAN ID # 1221401639-6
Closing Cost Details
                                                                                                         Borrower-Paid                Paid by
                                                                                                                                      Others
Loan Costs                                                                                          At Closing   Before Closing
A. Origination Charges                                                                                      $1,055.00
01 % of Loan Amount (Points)
02 Loan Origination Fee to Glacier Mortgage, Inc.                                                                                   (L) $5,700.00
03 Underwriting Fee                                                                                   $1,055.00
04
05
06
07
08
B. Services Borrower Did Not Shop For                                                                       $124.00
01 Credit Report                                                to Corelogic Credco (Reimb)              $31.00
02 Flood Certification                                          to Corelogic Flood Services               $8.00
03 Tax Service                                                  to United Wholesale Fbo Corelogic        $85.00
04
05
06
07
08
09
10
C. Services Borrower Did Shop For                                                                          $1,467.00
01 Title - Endorsement Fee                                      to Insured Titles                        $75.00
02 Title - Premium for Lender's Coverage                        to Insured Titles                       $877.00
03 Title - Reconveyance Fee                                     to Insured Titles                        $60.00
04 Title - Recording Fee                                        to Insured Titles                         $5.00
05 Title - Settlement Or Closing Fee                            to Insured Titles                       $450.00
06
07
08
D. TOTAL LOAN COSTS (Borrower-Paid)                                                                        $2,646.00
Loan Costs Subtotals (A + B + C)                                                                      $2,646.00



Other Costs
E. Taxes and Other Government Fees                                                                          $133.00
01 Recording Fees                      Deed:            Mortgage: $133.00                               $133.00
02
F. Prepaids                                                                                                $1,492.34
01 Homeowner's Insurance Premium ( mo.)
02 Mortgage Insurance Premium ( mo.)
03 Prepaid Interest ($24.03 per day from 4/30/21 to 5/1/21)                                              $24.03
04 Property Taxes ( 6 mo.) to Lake County Tax Collector                                               $1,468.31
05
G. Initial Escrow Payment at Closing                                                                       $1,778.86
01 Homeowner's Insurance $219.17 per month for 9 mo.                                                  $1,972.53
02 Mortgage Insurance                 per month for mo.
03 Property Taxes            $244.72 per month for 1 mo.                                                $244.72
04
05
06
07
08 Aggregate Adjustment                                                                                -$438.39
H. Other
01
02
03
04
05
06
07
08
I. TOTAL OTHER COSTS (Borrower-Paid)                                                                       $3,404.20
Other Costs Subtotals (E + F + G + H)                                                                 $3,404.20

J. TOTAL CLOSING COSTS (Borrower-Paid)                                                                     $6,050.20
Closing Costs Subtotals (D + I)                                                                       $6,050.20                         $5,700.00
Lender Credits

                                                                            Page 2
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                                                                                                                         LOAN ID # 1221401639-6
Payoffs and Payments                  Use this table to see a summary of your payoffs and payments to others from your loan amount.
TO                                                                                                                  AMOUNT
       Payoff to United Wholesale Mor for Mortgage Loan
01                                                                                                                                     $196,308.43


02


03


04


05


06


07


08


09


10


11


12


13


14


15

K. TOTAL PAYOFFS AND PAYMENTS                                                                                                          $196,308.43




Calculating Cash to Close             Use this table to see what has changed from your Loan Estimate.
                                    Loan Estimate      Final        Did this change?
Loan Amount                            $285,000.00    $285,000.00   NO
Total Closing Costs (J)                 -$5,969.00     -$6,050.20   YES    See Total Loan Costs (D) and Total Other Costs (I)
Closing Costs Paid Before Closing              $0              $0   NO
Total Payoffs and Payments (K)        -$195,566.00   -$196,308.43   YES    See Payoffs and Payments (K)
Cash to Close                           $83,465.00     $82,641.37
                                     From X To       From X To
                                     Borrower        Borrower       Closing Costs Financed (Paid from your Loan Amount) $6,050.20




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                                                                                                                           LOAN ID # 1221401639-6
Additional Information About This Loan
 Loan Disclosures

Assumption                                                                  Escrow Account
If you sell or transfer this property to another person, your lender        For now, your loan
    will allow, under certain conditions, this person to assume this        X will have an escrow account (also called an "impound" or "trust"
    loan on the original terms.                                               account) to pay the property costs listed below. Without an escrow
X will not allow assumption of this loan on the original terms.               account, you would pay them directly, possibly in one or two large
                                                                              payments a year. Your lender may be liable for penalties and interest
Demand Feature                                                                for failing to make a payment.
Your loan
  has a demand feature, which permits your lender to require early          Escrow
  repayment of the loan. You should review your note for details.           Escrowed              $5,566.68 Estimated total amount over year 1 for
X does not have a demand feature.                                           Property Costs                  your escrowed property costs:
                                                                            over Year 1                     Hazard Insurance Reserves
                                                                                                            Mortgage Insurance Reserve
Late Payment
                                                                                                            See attached page for additional information
If your payment is more than 15 days late, your lender will                 Non-Escrowed              $0.00 Estimated total amount over year 1 for
charge a late fee of 5% of your overdue payment of principal                Property Costs                  your non-escrowed property costs:
and interest.                                                               over Year 1                     Homeowners Association Dues
                                                                                                            You may have other property costs.
Negative Amortization (Increase in Loan Amount)                             Initial Escrow        $1,778.86 A cushion for the escrow account you pay
Under your loan terms, you                                                  Payment                         at closing. See Section G on page 2.
  are scheduled to make monthly payments that do not pay all of
  the interest due that month. As a result, your loan amount will           Monthly Escrow          $463.89 The amount included in your total
  increase (negatively amortize), and your loan amount will likely          Payment                         monthly payment.
  become larger than your original loan amount. Increases in your
  loan amount lower the equity you have in this property.                       will not have an escrow account because you declined it your
                                                                                lender does not offer one. You must directly pay your property
  may have monthly payments that do not pay all of the interest                 costs, such as taxes and homeowner's insurance. Contact your
  due that month. If you do, your loan amount will increase                     lender to ask if your loan can have an escrow account.
  (negatively amortize), and, as a result, your loan amount may
  become larger than your original loan amount. Increases in your
  loan amount lower the equity you have in this property.                   No Escrow
                                                                            Estimated                        Estimated total amount over year 1. You
X do not have a negative amortization feature.                              Property Costs                   must pay these costs directly, possibly in
                                                                            over Year 1                      one or two large payments a year.
Partial Payments                                                            Escrow Waiver Fee
Your lender
X may accept payments that are less than the full amount due                In the future,
    (partial payments) and apply them to your loan.                         Your property costs may change and, as a result, your escrow pay-
X may hold them in a separate account until you pay the rest of the         ment may change. You may be able to cancel your escrow account,
    payment, and then apply the full payment to your loan.                  but if you do, you must pay your property costs directly. If you fail
    does not accept any partial payments.                                   to pay your property taxes, your state or local government may (1)
If this loan is sold, your new lender may have a different policy.          impose fines and penalties or (2) place a tax lien on this property. If
                                                                            you fail to pay any of your property costs, your lender may (1) add
Security Interest                                                           the amounts to your loan balance, (2) add an escrow account to your
                                                                            loan, or (3) require you to pay for property insurance that the lender
You are granting a security interest in                                     buys on your behalf, which likely would cost more and provide fewer
11423 Spotted Fawn Ln , Bigfork , MT 59911                                  benefits than what you could buy on your own.
You may lose this property if you do not make your payments or
satisfy other obligations for this loan.




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                                                                                                                                LOAN ID # 1221401639-6
 Loan Calculations                                                                    Other Disclosures
                                                                                     Appraisal
Total of Payments. Total you will have paid after                                    If the property was appraised for your loan, your lender is required to
you make all payments of principal, interest,                                        give you a copy at no additional cost at least 3 days before closing. If
mortgage insurance, and loan costs, as scheduled.             $439,562.38
                                                                                     you have not received it yet, please contact your lender at the
                                                                                     information listed below.
Finance Charge. The dollar amount the loan will
cost you.                                                     $153,579.38            Contract Details
                                                                                     See your note and security instrument for information about
                                                                                        what happens if you fail to make your payments,
Amount Financed. The loan amount available after                                        what is a default on the loan,
paying your upfront finance charge.                           $283,312.97               situations in which your lender can require early repayment of the
                                                                                        loan, and
                                                                                        the rules for making payments before they are due.
Annual Percentage Rate (APR) Your costs over
the loan term expressed as a rate. This is not your
interest rate.                                                    3.124%             Liability after Foreclosure
                                                                                     If your lender forecloses on this property and the foreclosure does not
                                                                                     cover the amount of unpaid balance on this loan,
Total Interest Percentage (TIP). The total amount                                    X state law may protect you from liability for the unpaid balance. If you
of interest that you will pay over the loan term as                                      refinance or take on any additional debt on this property, you may
a percentage of your loan amount.                                53.304%                 lose this protection and have to pay any debt remaining even after
                                                                                         foreclosure. You may want to consult a lawyer for more information.
                                                                                         state law does not protect you from liability for the unpaid balance.

                                                                                     Refinance
                                                                                     Refinancing this loan will depend on your future financial situation,
                                                                                     the property value, and market conditions. You may not be able to
                                                                                     refinance this loan.
                 Questions? If you have questions about the
                 loan terms or costs on this form, use the contact                   Tax Deductions
                 information below. To get more information                          If you borrow more than this property is worth, the interest on the
                 or make a complaint, contact the Consumer                           loan amount above this property's fair market value is not deductible
                 Financial Protection Bureau at                                      from your federal income taxes. You should consult a tax advisor for
                 www.consumerfinance.gov/mortgage-closing                            more information.




 Contact Information
                         Lender                                       Mortgage Broker                                     Settlement Agent
Name                     United Wholesale Mortgage, LLC               Glacier Mortgage, Inc.                              Insured Titles

Address                  585 South Blvd E Pontiac, MI 48341           14 3rd Street East Suite 280, Kalispell, MT 59901   44 4th Street West P.O. Box 188, Kalispell, MT
                                                                                                                          59901



NMLS ID                  3038                                         2568
MT License ID                                                                                                             000975
Contact                                                               Roland Gerhard Frey                                 Tanya Jackson

Contact NMLS ID                                                       305739
Contact MT License ID                                                                                                     000975


Email                                                                 roland@glaciermtg.com                               tjackson@insuredtitles.com


Phone                    (800)981-8898                                (406)751-2345                                       (406)755-5028




 Confirm Receipt
By signing, you are only confirming that you have received this form. You do not have to accept this loan because you have signed or received
this form.

Candy Williams                                       Date



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